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AO 41(Rev,11111) Cnmmal Complaint



                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                    District of New Jersey

                  United States of America                       )
                               v.                                )
                                                                 )      Case No.
        Olympus Corporation of the Americas
                                                                 )                    16-3524 (MF)
                                                                 )
                                                                )
                                                                )
                        Dejendant{s)


                                              CRIMINAL COMPLAINT
        1. the complainant in this case. state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               2006 thro.~Qh 2011             in the county of                                               in the
                      District of ·-- New ~ers~Y,..___ , the defendant(s) violated:

           Code Section                                                    Offense Description
18 U.S.C. 371                                Defendant conspired to commit violations of the the Anti-Kickback Statute, 42
                                             U.S.C. 1320a-7b(b)




        This criminal complaint is based on these facts:
See Attachment A




        gf Continued on the attached sheet.




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                                                                                                Primed name and tiflc>


Swom to before me and signed in my presence.


Date:             03/01/2016


City and state:                     Newark, New                                 Mark Falk, United States Magistrate
                                                                                                                            ''''''WWW•·--•-·-··-
                                                                                                Primc>d name and title
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                                      AITACHMENT A

                                 STATEMENT OF FACTS

                                          Summary

 1.    From at least as early as in or about 2006, and continuing through in or about 2011,
      within the District of New Jersey, and elsewhere, OLYMPUS CORPORATION OF THE
      AMERICAS (referred to herein as "OLYMPUS"), acting through certain of its officers
      and employees, including senior employees, knowingly and intentionally conspired and
      agreed with others to commit an offense against the United States, that is, to knowingly
      and willfully offer and pay remuneration, directly and indirectly, overtly and covertly, in
      cash and in kind, namely, kickbacks, to persons to induce such persons to purchase, lease,
      order, and arrange for and recommend purchasing, leasing and ordering goods and items
      for which payment may be made in whole or in part under a Federal health care program,
      namely, Medicare and Medicaid, contrary to Title 42, United States Code, Section 1320a-
      7(b)(2).

 2.    Specifically, OLYMPUS sought to, and did, induce doctors, hospitals, and other health
      care providers to buy OLYMPUS products by giving them various types of remuneration,
      including grants, payments for travel and recreational activities, consulting payments, and
      gifts or no-charge loans of OLYMPUS equipment, some of which sold for $20,000 or
      more. In this fashion, OLYMPUS facilitated more than $600 million in sales of
      OLYMPUS medical and surgical equipment - in particular, endoscopes - making
      OLYMPUS more than $230 million in gross profits from those sales.

 3.    At all times relevant to this Statement of Facts, the Medicare Program ("Medicare") was
      a federal program that provided free or below-cost health care benefits to certain
      individuals, primarily the elderly, blind, and disabled. The Medicaid Program
      ("Medicaid") was a jointly funded, federal-state health insurance program that provided
      certain health benefits to the disabled, as well as to individuals and families with low
      income and resources. The federal government provided matching funds to Medicaid
      and ensured that states complied with minimum standards in the administration of the
      program. Medicare and Medicaid are "Federal health care programs" as defined in Title
      42, United States Code, Section I 320a-7b(t).

 4.    OLYMPUS, with its principal place of business in Center Valley, Pennsylvania, sold
      medical and surgical equipment to doctors, hospitals, and other health care providers
      throughout the United States, including in New Jersey. The doctors, hospitals, and other
      health care providers then used the OLYMPUS medical and surgical equipment in
      various procedures for which they received payments under Medicare and Medicaid.
      OLYMPUS's medical and surgical equipment were thus goods and items for which
      payment may be made in whole or in part under a Federal health care program. From
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      2006 to 2011, OLYMPUS 's sales of medical and surgical equipment in the United States
      totaled approximately $7 billion.

 5.    At all times relevant to this Statement of Facts, OLYMPUS did not have appropriate
      training and compliance programs to prevent and identify violations of federal health care
      laws, including the Anti-Kickback Statute, Title 42, United States Code, Section 1320a-
      7b(b). OLYMPUS did not create any Compliance Officer position until 2009 and did not
      hire an experienced compliance professional to fill that position until August 2010.

 6.    The object of the conspiracy was for OLYMPUS, and certain of its officers and
      employees, including senior employees, to induce doctors, hospitals, and other health
      care providers to buy OLYMPUS products by giving them various types of kickbacks,
      including grants, payments for travel and recreational activities, consulting payments, and
      gifts or no-charge loans of OLYMPUS equipment, some of which sold for $20,000 or
      more.

 7.    It was a part of the conspiracy that OLYMPUS awarded millions of dollars in grants
      through a Grant Committee that, until July 2009, was comprised largely of sales and
      marketing personnel. From January 2006 until June 2007, OLYMPUS's Chief
      Marketing Officer and Vice President of Customer Relations chaired the Grant
      Committee, and he was replaced by OLYMPUS's Director of Customer Relations, who
      chaired the Grant Committee until July 2009. OLYMPUS 's management endorsed the
      strategy of using grants to build and retain the loyalty of OLYMPUS customers and
      induce purchases of OLYMPUS products. The Grant Committee often considered sales
      and customer relations in awarding grants, and one purpose of numerous grants was to
      help OLYMPUS sell products to the grant recipient. For example:
          a. On or about October 16, 2007, an OLYMPUS Vice President of Sales and
              member of the Grant Committee supported a $100,000 research grant to Hospital
              #1 's Foundation because Hospital #1 was "our #1 account in the US and I have no
              intention of losing any of it to" a competitor.
          b. On or about October 26, 2007, the Grant Committee awarded Hospital #2 a
              $5,000 grant sought, at Hospital #2's request, by a sales representative to facilitate
              a pending $750,000 sale and the conversion of Hospital #2 from a competitor.
          c. In or about August 2006, an OLYMPUS sales representative had the Grant
              Committee approve an unrestricted research grant of$50,000 for three years to
              Hospital #3 while the sales representative was trying to make a large sale to
              Hospital #3, but, at the direction of the sales representative and with the
              concurrence of the Chairman of the OLYMPUS Grant Committee, OLYMPUS
              held the grant funds for several months until Hospital #3 signed the deal to
              purchase OLYMPUS equipment.
          d. OLYMPUS approved grants in 2007 to Hospital #9 because OLYMPUS was
              "getting tremendous ROI [return on investment] within [Hospital #9]," including

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             sales of "at least 15 full lap[arascopic] towers" and "$800,000 in outstanding
             quotes" in 2007.

 8.    It was a further part of the conspiracy that OLYMPUS paid doctors' expenses for travel,
      leisure, and recreation during programs requiring doctor travel, including week-long trips
      to Japan, to reward past purchases and induce future purchases of OLYMPUS products.
      For example:
          a. In or about October 2007, multiple senior executives caused OLYMPUS to agree
              to pay for three doctors to spend a week in Japan as a quid pro quo for the
              decision of Hospital #4, a prominent California institution, to switch from a
              competitor to OLYMPUS's products, after which one of the doctors thanked
              OLYMPUS for "providing so much extra entertainment that we did not expect."
          b. Every year from 2006 through 2009, OLYMPUS treated the physician president
              of a prominent professional organization and (except for 2009) his or her spouse
              to a week-long trip to Japan and paid the physician a $10,000 honorarium to give
              one lecture during the trip.
          c. OLYMPUS paid for doctors' lavish meals, ballooning, winery tours, golf, and
              spa treatments at an OLYMPUS-sponsored forum because it was "a great way to
              network, talk business, socialize without our competitors."
          d. In 2006, OLYMPUS invited the key doctor for a Midwestern hospital system to a
              week-long trip to Japan and approved a grant sought by the doctor. On
              September 8, 2006, an OLYMPUS vice president wrote the person responsible for
              the invitation, who was also chair of the Grant Committee, to thank him for the
              support: "We have received all of the orders expected and have kept [a
              competitor] completely out of the [Midwestern hospital] system. Hooray!"

 9.    It was a further part of the conspiracy that OLYMPUS gave, or loaned for extended
      periods without charge, endoscopes and other equipment to doctors and institutions, some
      of which cost $20,000 or more, in order to win business and induce purchases of
      OLYMPUS products. For example:
          a. While Hospital #5 was considering a proposal to purchase more than $3 million
              in OLYMPUS equipment and services, an OLYMPUS Vice President approved
              donating tens of thousands of dollars of equipment to Hospital #5 in order to
              "neutralize" a competitor's efforts.
          b. From in or about January 2006 through in or about September 2010, OLYMPUS
              senior executives caused OLYMPUS to give Doctor #1 approximately $400,000
              in endoscopes and other equipment to use without charge in his private practice,
              and OLYMPUS believed Doctor #1 had a major role in the decisions of Hospital
              #6, a leading New York medical center, to buy millions of dollars in products
              from OLYMPUS.
          c. OLYMPUS gave Hospital #7, a large Midwestern institution, free use of
              demonstrative and loaner equipment worth over $1,000,000 to retain the customer

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            and keep out a competitor, thus inducing further purchases of OLYMPUS
            products.
         d. In 2007, OLYMPUS approved a donation of equipment to a Southern hospital
            system because it was building a new hospital "and we need access for potential
            sell of $300k."
         e. OLYMPUS loaned demo equipment without charge to Hospital #IO as part of a
            conversion of the account from a competitor, and an OLYMPUS regional sales
            director recommended extending the loan a year later even after recognizing that
            the loan was "certainly inappropriate especially given the AdvaMed Guidelines
            on leaving equipment in accounts."
         f. Under the Medical Loaner Sale program, OLYMPUS sales representatives would
            Joan endoscopes to customers without charge for months and sometimes more
            than a year for the express purpose of inducing the customers to purchase that
            equipment.
         g. When equipment leases came to an end, OLYMPUS would allow the customers
            to keep the old equipment and skip several months of payments, in order to
            induce the customers to sign a new lease.

 IO. It was a further part of the conspiracy that OLYMPUS made consulting payments to
     doctors, including payments made without a written agreement, with one purpose of the
    payments being to induce purchases of OLYMPUS products. For example, from 2006 to
     2011, OLYMPUS paid approximately $112,300 in consulting payments to Doctor #2,
    who OLYMPUS believed to be influential in the purchasing decisions of Hospital #8, a
     leading southeastern medical institution.

 11. In furtherance of the conspiracy, and to effect its objects, OLYMPUS committed the
     following overt acts in the District of New Jersey and elsewhere:

    a)        In or about October 2007, multiple senior executives caused OLYMPUS to pay
         for three doctors to spend a week in Japan as a quid pro quo for the decision of
         Hospital #4, a prominent California institution, to switch from a competitor and
         purchase OLYMPUS products.

    b)       In or about August 2006, an OLYMPUS sales representative caused the Grant
         Committee to approve an unrestricted research grant of $50,000 for three years to
         Hospital #3 while the sales representative was trying to make a large sale to Hospital
         #3. At the direction of the sales representative and with the concurrence of the
         Chairman of the OLYMPUS Grant Committee, OLYMPUS held the grant funds for
         several months until Hospital #3 signed the deal to purchase OLYMPUS equipment.

    c)       From in or about January 2006 through in or about September 2010, senior
         executives caused OLYMPUS to give Doctor #1 -who OLYMPUS believed had a
         major role in the decisions of Hospital #6, a leading New York medical center, to buy
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         millions of dollars in products from OLYMPUS-approximately $400,000 in
         endoscopes and other equipment to use without charge in his private practice..

    d)       On or about October 26, 2007, the OLYMPUS Grant Committee, which included
         several senior executives, awarded Hospital #2 a $5,000 grant sought, at Hospital
         #2's request, by a sales representative to facilitate a pending $750,000 sale and the
         conversion of Hospital #2 from a competitor.

 12. As a result of payments of kickbacks made pursuant to the conspiracy described above,
     OLYMPUS induced more than $600 million in purchases ofOLYMPUS medical and
     surgical equipment. OLYMPUS made more than $230 million in gross profits from
    those sales.




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